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 6                                  UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
 8                                                 *****
 9   UNITED STATES OF AMERICA,                        )
                                                      ) 3:05-cr-00155-LRH-RAM
10                                   Plaintiff,       )
                                                      ) ORDER
11   vs.                                              )
                                                      )
12   LONNIE MUNDAY,                                   )
                                                      )
13                                   Defendant.       )
                                                      )
14
15             Before the court is Defendant LONNIE MUNDAY’s Petition to Terminate Supervised
16   Release (#43). The petition has been opposed by the Government (#45) and the Probation Office
17   has recommended against an early termination from probation.
18             The primary grounds cited in support of the early termination of the Defendant’s
19   probationary term are travel restrictions which apply to Defendant Munday’s current
20   employment. The Probation Office has confirmed its liberal policy with regard to dealing with
21   such travel restrictions as cited by Defendant. In consideration of the circumstances of the
22   Defendant’s criminal conviction, his criminal history and the favorable sentence he received of
23   probation for a term of two years, Defendant’s petition for early termination of probation will be
24   denied.
25             IT IS SO ORDERED.
26             DATED this 14th day of August, 2007.
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                                                           LARRY R. HICKS
                                                           UNITED STATES DISTRICT JUDGE
